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USA                                                                 Defendant's Exhibits
v
WILLIAM MCCALL CALHOUN, JR.

CASE NO: 5:21‐MJ‐00008‐CHW‐1




    1     Email                                   Saviello           yes
    2     Affidavits                              Saviello           yes

   6      Audio‐Voicemails from Office            Saviello           yes
   7      Audio‐Voicemails from Office            Saviello           yes
   8      Audio‐Voicemails from Office            Saviello           yes
   9      Audio‐Voicemails from Office            Saviello           yes
   10     Audio‐Voicemails from Office            Saviello           yes

    3     Affidavit ‐ Secretary                   Saviello           yes
    4     Affidavit ‐ Lawyer                      Saviello           yes
    5     Affidavit ‐ Lawyer                      Saviello           yes


 Witness Mary Calhoun, Sister of Defendant




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